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                                                                         United States District Court
                                                                           Southern District of Texas

                                                                               ENTERED
                                                                               June 18, 2020
                         UNITED STATES DISTRICT COURT
                                                                           David J. Bradley, Clerk
                          SOUTHERN DISTRICT OF TEXAS
                            CORPUS CHRISTI DIVISION

BOLLINGER AMELIA REPAIR, LLC, et §
al,                              §
                                 §
         Plaintiffs,             §
VS.                              § CIVIL ACTION NO. 2:19-CV-370
                                 §
BOUCHARD TRANSPORTATION CO., §
INC., et al,                     §
                                 §
         Defendants.             §

       ORDER GRANTING THE UNOPPOSED MOTION TO CONTINUE
        SUBMISSION DATE OF BOLLINGER AMELIA REPAIR, LLC’S
           MOTION FOR INTERLOCUTORY SALE OF VESSEL


       Having considered Bouchard Transportation Co., Inc.’s Unopposed Motion to

Continue Submission Date of Bollinger Amelia Repair, LLC’s Motion for Interlocutory

Sale of Vessel (D.E. 67), the Court finds that the motion should be GRANTED.

       It is ORDERED that the submission of Bollinger Amelia Repair, LLC’s Motion

for Interlocutory Sale of Vessel is continued until June 25, 2020.



       ORDERED this 18th day of June, 2020.


                                             ___________________________________
                                             Julie K. Hampton
                                             United States Magistrate Judge




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